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7                                   UNITED STATES DISTRICT COURT
                                         DISTRICT OF OREGON
8                                         MEDFORD DIVISION
9
           In re the Matter of J.P. and E.P.:
10                                                            Civil Action No. 1:24-cv-00648-AA
           ARNAUD PARIS,
11                                                            SUPPLEMENTAL OBJECTION TO
                                        Petitioner,           RESPONDENT'S MOTION TO
12
           and                                                DISMISS FOR RESPONDENT'S
13                                                            COUNSEL LACK OF CONFERRAL
           HEIDI MARIE BROWN,
14
                                        Respondent.
15

16
                  Respondent's counsel has been ignoring Petitioner's request to confer on
17
           Respondent's motion to dismiss filed on May 28 th 2024. Petitioner has been following
18
           Honorable Judge Aiken's advice to review closely the local rules in regard to filing documents
19

20         in this matter and it appears that per Chapter 5 of the ORCP and also LR 7-1, LR 1-4, FRCP26

21         and LR 83-6, Respondent's counsel had an obligation to confer with Father on their Motion
22
           to Dismiss Petition for Return of Children filed on May 28th.
23
                  Respondent's counsel failed to do so properly and therefore Petitioner requests tliis
24
           Honorable Court to dismiss Respondent's motion based on this lack of conferral. Here are the
25
           factual pieces of evidence supporting Petitiofer' s request to this Honorable Court:
             SUPPLEMENTAL OBJECTION
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1
            Father, Petitioner tried to communicate with Katrina Seipel, Respondent's counsel on
2

3    July 3 rd, July 4th and July 9th -regarding Respondent's Motion to Dismiss Petition for Return

4    of Children. On the email communication was also CCed Miss Katelyn Skinner and Miss

5    Wendy Goodyear who are also working at the Buckley Law firm and who are assisting Miss
6
     Seipel in this matter. Miss Seipel and her colleagues from Buckley Law ignored each of these
7
     emails and refused to answer Petitioner to set a time for conferral.
8
     -See attached Exhibit 01, email sent by Petitioner to Respondent's counsel on July 3rd 2024.
9

10   -See attached Exhibit 02, email sent by Petitioner to Respondent's counsel on July 4th 2024.

11   -See attached Exhibit 03, email sent by Petitioner to Respondent's counsel on July 9th 2024.
12
            Respondent is in violation of the ORCP rules and this gives ground to this Honorable
13
     Court to dismiss Respondent's Motion to Dismiss Petition for Return ofChildren. The reason
14
     Petitioner is filing this suppplemental objection now is because the confirmation and proof of
15

16   Respondent's counsel refusal to confer only happened in the last few days.

17          Petitioner would like to take this opportunity to also remind this Honorable Court that

18   since Father filed his Hague Petition on April 16th 2024 and since Mother, Respondent,
19
     abducted Eva and Juliette from France on or about April 8th 2024, Mother has prevented the
20
     children from doing any video calls with Father or their French family. In that context
21
     Petitioner also would like to inform this Honorable Court that his Mother, Katia Paris, the
22

23   children's French Grandmother, was admitted at the French ER recently on June 28th and

24   even though she had been made aware of this context, Mother, Respondent, refused to let the
25
     children communicate with their French grandmother who they are really close to.
                                        I
       SUPPLEMENTAL OBJECTION
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     -See attached Exhibit 04, proof of Katia Paris's admittance to the French ER on June 28th.
2

3    -See attached Exhibit 05, whatsapp message Eva and Juliette's French Aunt to Respondent

4    about their grandmother admitted at the ER on June 28th and asking Mother Respondent to

5    let them do a video call with their French Grandmother, which Mother ignored.
6
            As a result, Petitioner respectfully requests this Honorable Court to dismiss
7
     Respondent's motion filed on May 28th and to proceed expeditiously to the Hague Abduction
8
     Action per article 11 of the 1980 Hague Convention for the return of the children to France.
9

10

11                DATED this 15th day of July, 2024, in Paris, France
12
                                                                            Submitted by:
13                                                                          Arnaud PARIS, Pro Per

14

15

16                                                                          13 rue Ferdinand Duval
                                                                            75004 Paris, FRANCE
17                                                                          +33.6.88.28.36.41

18

19
                                                   VERIFICATION

20         I, Arnaud Paris, declare under penalty of perjury under the laws of the United States
     of America that the foregoing is true and correct.
21
     SIGNED AND DATED this 15th day of July, 2024, in Paris, France.
22

23

24



                                               Arnaud Paris

                                   ...._,u.:i.._, J. ,v .   .L .,c.,,-v 11-vvvou-i J..J. i.
            Case 1:24-cv-00648-AA              Document 27                        Filed 07/15/24   Page 4 of 4




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3                          CERTIFICATE OF SERVICE
4       I hereby certify that I served the foregoing SUPPLEMENTAL OBJECTION TO RESPONDENT'S
        MOTION TO DISMISS FOR RESPONDENT'S COUNSEL LACK OF CONFERRAL on the following
5       party:

6                                Katelyn Skinner at kds@buckley-law.com
                                  Katrina Seipel at kas@buckley-law.com
7                                        Attorneys for Respondent

8    By the following method or methods:

9
      prepaIa enveIopes, aaaressea ro me auorneyslSJ as snown aoove, me Ias1 Known omce aooress or
10    the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
      set forth below.
11

12

13
                 1xing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
14

15

16

17

18                 DATED this 15th day of July, 2024, in Paris, France.

19

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21

22
     ARNAUD PARIS
23   13 rue Ferdinand Duval
     75004, PARIS, FRANCE
     Telephone: +33688283641
24
     Email: aparis@sysmicfilms.com




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